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                                  4                                 UNITED STATES DISTRICT COURT

                                  5                                NORTHERN DISTRICT OF CALIFORNIA

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                                  7      UNITED STATES OF AMERICA,
                                                                                       Case No. 18-cv-04788-PJH
                                  8                   Plaintiff,

                                  9              v.                                    ORDER GRANTING MOTION FOR
                                                                                       SUMMARY JUDGMENT
                                  10     WALTER JAMES KUBON, et al.,
                                                                                       Re: Dkt. No. 55
                                  11                  Defendants.

                                  12
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                                  13          Before the court is plaintiff the United States of America’s (the “government” or the

                                  14   “United States”) motion for summary judgment. The matter is fully briefed and suitable

                                  15   for decision without oral argument. Accordingly, the hearing set for May 15, 2019, is

                                  16   VACATED. Having read the parties’ papers and carefully considered their arguments

                                  17   and the relevant legal authority, and good cause appearing, the court hereby GRANTS

                                  18   the government’s motion.

                                  19                                        BACKGROUND

                                  20          On August 8, 2018, the government commenced this action against defendants

                                  21   Walter James Kubon (also known as Walter James Kubon, Jr., hereinafter, “Walter

                                  22   Kubon”), Vally Kubon (together with Walter Kubon, the “Kubons”), and the State of

                                  23   California Franchise Tax Board (“FTB”). Seeking relief for unpaid taxes, the

                                  24   government’s complaint asserts two causes of action: (1) to reduce to judgment

                                  25   outstanding federal tax assessments against the Kubons for tax years 2002, 2003, and

                                  26   2004, and (2) to foreclose associated federal tax liens securing those tax assessments

                                  27   upon the real property located at 560 Hobie Lane, San Jose, California 95127 (the

                                  28   “property”).
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                                  1           Specifically, the government, through the Internal Revenue Service (the “IRS”),

                                  2    made separate assessments against Walter Kubon and Vally Kubon for their individual

                                  3    2002 federal income tax liability, along with penalties and interest through December 1,

                                  4    2017, for $390,110.99 and $367,668.60, respectively. Dkt. No. 55-1, 55-2 (Exs. 1-2).

                                  5    The IRS also made assessments against the Kubons’ for unpaid joint federal income tax

                                  6    liabilities in the amount of $96,910.60 for 2003 and $80,586.28 for 2004, including all

                                  7    penalties and interest thereon, as of December 1, 2017. Dkt. No. 55-2, 55-3 (Exs. 3-4).

                                  8    Pursuant to 26 U.S.C. §§ 6321 and 6322, statutory liens arose in favor of the United

                                  9    States upon all property and property rights belonging to the Kubons as of the dates of

                                  10   the assessments. Notices of those federal tax liens were filed with the Santa Clara

                                  11   County Recorder. Dkt. Nos. 55-5 - 55-11 (Exs. 5-11).

                                  12          In accordance with 26 U.S.C. § 7403, when the government filed its complaint, it
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                                  13   named the FTB as a party who may claim an interest in the property. Dkt. No. 52 ¶ 7.

                                  14   The FTB’s Answer to the government’s complaint alleges that the Kubons, either

                                  15   individually or jointly, are indebted to the FTB for delinquent taxes, interests, penalties,

                                  16   and costs for the 1999, 2000, 2001, 2002, and 2007 tax years, totaling $166,208.41.

                                  17   Dkt. No. 27 ¶ 11. The FTB and the government subsequently stipulated to the priority

                                  18   positions of their respective liens, Dkt. No. 31, and the court approved and entered that

                                  19   stipulation. Dkt. No. 32.

                                  20                                           DISCUSSION

                                  21   A.     Legal Standard

                                  22          Summary judgment is proper where the pleadings, discovery, and affidavits show

                                  23   that there is “no genuine dispute as to any material fact and the movant is entitled to

                                  24   judgment as a matter of law.” Fed. R. Civ. P. 56(a). Material facts are those which may

                                  25   affect the outcome of the case. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248

                                  26   (1986). A dispute as to a material fact is genuine if there is sufficient evidence for a

                                  27   reasonable jury to return a verdict for the nonmoving party. Id.

                                  28          The moving party for summary judgment bears the initial burden of identifying
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                                  1    those portions of the pleadings, discovery, and affidavits which demonstrate the absence

                                  2    of a genuine issue of material fact. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986);

                                  3    Nissan Fire & Marine Ins. Co. v. Fritz Cos., 210 F.3d 1099, 1102 (9th Cir. 2000). When

                                  4    the moving party has met this burden of production, the nonmoving party must go beyond

                                  5    the pleadings and, by its own affidavits or discovery, set forth specific facts showing that

                                  6    there is a genuine issue for trial. Id. If the nonmoving party fails to produce enough

                                  7    evidence to show a genuine issue of material fact, the moving party wins. Id.

                                  8           At summary judgment, the court must view the evidence in the light most favorable

                                  9    to the nonmoving party: if evidence produced by the moving party conflicts with evidence

                                  10   produced by the nonmoving party, the judge must assume the truth of the evidence set

                                  11   forth by the nonmoving party with respect to that fact. See Tolan v. Cotton, 134 S. Ct.

                                  12   1861, 1865 (2014); Leslie v. Grupo ICA, 198 F.3d 1152, 1158 (9th Cir. 1999).
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                                  13   B.     Analysis

                                  14          “In an action to collect taxes, the government bears the burden of proof.” United

                                  15   States v. Stonehill, 702 F.2d 1288, 1293 (9th Cir.1983). An assessment for unpaid

                                  16   federal taxes is presumptively correct evidence of a taxpayer's liability and satisfies the

                                  17   government's initial burden of proof, and its introduction establishes a prima facie case.

                                  18   Id.; United States v. Molitor, 337 F.2d 917, 922 (9th Cir.1964). “The defendant taxpayer

                                  19   then has the burden to prove the assessment is incorrect, and he or she may introduce

                                  20   evidence to overcome the assessment.” United States v. Beary, No. C 06-5838 PJH,

                                  21   2007 WL 2712217, at *5 (N.D. Cal. Sept. 14, 2007); see also Molitor, 337 F.2d at 922-23.

                                  22   If the taxpayer rebuts the presumption, it disappears. To rebut that presumption, the

                                  23   taxpayer must show the assessment is “arbitrary or erroneous.” Stonehill, 702 F.2d at

                                  24   1294. If the taxpayer meets her burden, the burden shifts back to the government to

                                  25   “maintain and establish the correctness of the assessment by sufficient and competent

                                  26   evidence.” Molitor, 337 F.2d at 923; Beary, 2007 WL 2712217, at *5.

                                  27          Here, the government has submitted certificates of assessments and payments

                                  28   and notices of federal tax liens, which are admissible into evidence pursuant to Rules
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                                  1    803(8) and 902(1) of the Federal Rules of Evidence and are the proper means of

                                  2    establishing the facts of the administrative assessment, notice, and demand for payment.

                                  3    See Exs. 1-4 (assessments); Exs. 5-11 (liens); see also Beary, 2007 WL 2712217, at *5.

                                  4    The certificate of assessments and payments set forth the assessments and payments

                                  5    for each of the tax periods and years at issue. Exs. 1-4. The evidence shows that the

                                  6    assessments were made, and that notice and demand was made on the taxpayers for

                                  7    those liabilities. The Kubons have submitted no evidence showing that the assessments

                                  8    are incorrect or disputed. Because defendants have failed to rebut the government’s

                                  9    prima facie case of tax liability, the government has established the Kubons’ tax liability.

                                  10          Pursuant to 26 U.S.C. §§ 6321 and 6322, statutory liens arise in favor of the

                                  11   United States upon all property and property rights belonging to the taxpayers as of the

                                  12   dates of the assessments. See also United States v. Turner, No. CIV.99-00817SOM-
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                                  13   FIY, 2000 WL 1728304, at *4 (D. Haw. Oct. 6, 2000); Bank of America Nat'l Trust & Sav.

                                  14   Asso. v. Mamakos, 509 F.2d 1217, 1219 (9th Cir.1975); Drye v. United States, 528 U.S.

                                  15   49, 56 (1999) (language in § 6321 “is broad and reveals on its face that Congress meant

                                  16   to reach every interest in property that a taxpayer might have”). Here, the evidence

                                  17   shows that assessments were made against the Kubons, tax liens arose, and notices of

                                  18   federal tax liens were recorded with the Santa Clara County Recorder’s Office. There is

                                  19   no evidence suggesting the Kubons have paid those liabilities.1

                                  20          After the district court adjudicates the merits of the United States' claim to the

                                  21   property, it may decree a sale of the property and order distribution of the proceeds from

                                  22   that sale. 26 U.S.C. § 7403(c); United States v. National Bank of Commerce, 472 U.S.

                                  23   713, 719–20 (1985); 28 U.S.C. § 2001(a) (allowing the court to set the terms and

                                  24   conditions of the sale of real property). Although the court is not required to foreclose tax

                                  25   liens, the Supreme Court has emphasized that “the limited discretion accorded by § 7403

                                  26   should be exercised rigorously and sparingly, keeping in mind the Government's

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                                        The Kubons’ response to the government’s motion consists solely of run-of-the-mill tax
                                       protester arguments that entirely lack merit.
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                                  1    paramount interest in prompt and certain collection of delinquent taxes.” United States v.

                                  2    Rodgers, 461 U.S. 677, 711 (1983). “In exercising its discretion, a court should not order

                                  3    a property's sale, where the government will not benefit from it.” United States v. Moyer,

                                  4    No. C 07-00510 SBA, 2008 WL 3478063, at *10 (N.D. Cal. Aug. 12, 2008). The Kubons

                                  5    have presented no evidence that such an exception applies in this case. Therefore, the

                                  6    government is entitled to a decree of foreclosure sale of the property under § 7403.

                                  7                                             CONCLUSION

                                  8           For the foregoing reasons, the government’s motion for summary judgment is

                                  9    GRANTED and the court ORDERS (1) that the Kubons’ federal income tax liabilities and

                                  10   associated penalties plus interest be reduced to judgment, (2) the federal tax liens

                                  11   against the Kubons shall be and are hereby foreclosed against the property, and (3) the

                                  12   sale of the property. Entry of Judgment and a separate Order of Foreclosure and Judicial
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                                  13   Sale will follow.

                                  14          IT IS SO ORDERED.

                                  15   Dated: May 2, 2019

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                                                                                   PHYLLIS J. HAMILTON
                                  17                                               United States District Judge
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